Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 1 of 61 PageID #: 2756




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION



  UNITED STATES OF AMERICA,                     )
                                                )                 No. 98-cr-0038-JMS-MJD-01
                                                )
                 v.                             )                 Hon. Jane E. Magnus-Stinson
                                                )
  ANTHONY SPRADLEY                              )


      ANTHONY SPRADLEY’S MOTION TO REDUCE HIS LIFE SENTENCE
           PURSUANT TO SECTION 603 OF THE FIRST STEP ACT

                               “I do not oppose compassionate release for Anthony Spradley. I write this
                               letter out of compassion and as part of the healing process. I write this letter
                               as a man and as a father of a young man whose life was cut short. Anthony
                               was 28 years old when Marcus was killed. He is 51 years old today.
                               Anthony has communicated his deep apology to my family. . . Our
                               discussions have allowed me to forgive him. If you decide that Anthony
                               deserves another chance at freedom, my love for my son Marcus will not
                               stand in the way.”

                                               ⎼ Father of Marcus Willis, Edward White (Ex. A)1


         Anthony Spradley’s first felony conviction was a costly one. In 1999, Mr. Spradley

  received a mandatory life sentence. He has been incarcerated for nearly 23 years. He has no

  certainty of release.

         Nothing about this case is ordinary. Mr. Spradley’s involvement in a serious drug

  conspiracy cost him his life’s freedom. A man lost his life. Families have been affected. Mr.

  Spradley has worked for over two decades to demonstrate that he is not beyond redemption


  1
         A copy of Edward White’s letter of support is attachedas Exhibit A.


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Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 2 of 61 PageID #: 2757




  and rehabilitation. He has completed 41 prison programs and has worked as a trusted

  orderly. In many ways, the man Mr. Spradley has become is his profound apology for all of it

  ⎼ the drugs, the mistakes, the harm. It is an apology that he has been making for over two

  decades without any certainty of release. If given the opportunity to reenter society, he has a

  sound release plan that includes housing, financial support and a job offer. Most

  compellingly, the father of the man killed by Mr. Spradley’s co-defendant does not oppose

  Mr. Spradley’s release.2

         While individually persuasive, these facts collectively create extraordinary and

  compelling reasons for Mr. Spradley’s release. Therefore, DEFENDANT ANTHONY

  SPRADLEY, by his counsel MIANGEL CODY, respectfully moves this Court pursuant to

  § 603 of the First Step Act of 2018, amending 18 U.S.C. § 3582(c)(1)(A), to reduce his life

  sentence on Count 1 to 300 months’ imprisonment.


                                     I.        THE FACTS


             A. The Road to a Life Sentence

                               “I admit my decision-making in the past caused me to regretfully engage in
                               criminal activity within my community.”

                                                       ⎼ Statement of Anthony Spradley (Ex. B) 3

         Prior to his life sentence, Anthony Spradley’s stiffest penalty was a $2.00 gambling

  fine. PSR at ¶ 72. Spradley -- the son of a janitor -- came from a poor but striving family. He

  graduated from high school with decent grades and a hopeful future. Mr. Spradley’s road to a


  2
         Id.
  3
         A copy of Anthony Spradley’s letter to the Court is attached as Exhibit B.

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Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 3 of 61 PageID #: 2758




  life sentence seemed to happen in an instant. He admits that he missed opportunities to

  right his course along the way. Specifically, Mr. Spradley admits that he was involved in a

  drug conspiracy that “inflicted harm upon many victims who were negatively affected by

  drugs that I willingly supplied.”4

         Although it is undisputed that Mr. Spradley was not the shooter, he also

  acknowledges the sad fact that a man, Marcus Willis, lost his life during the conspiracy. The

  details of Mr. Willis’ demise are worth an explanation, as those facts are relevant to the

  sentencing disparity discussed infra. In 1996, Mr. Spradley opened a local bar and hired

  Marcus Willis to work as a security officer. PSR at ¶ 16. Unbeknownst to Mr. Spradley, Mr.

  Willis was also a confidential federal informant. PSR at ¶ 16. Eventually members of the

  conspiracy soon suspected Willis to be a cooperator. In the summer of 1997, co-defendant

  Mark White “shot and killed Willis” during a road trip from Atlanta to Indianapolis. PSR at

  ¶¶ 22 and 30.

         Anthony Spradley was not present during Marcus Willis’ murder. According to the

  Presentence Investigation Report, Mr. Spradley was present when the co-defendants cleaned

  the vehicle and disposed of evidence related to the murder. PSR at ¶ 28.


               B. The Federal Prosecution

         In September 1999, a jury convicted Mr. Spradley of conspiracy to possess with

  intent to distribute cocaine (Count 1), conspiracy to commit money laundering (Counts 7

  and 8), money laundering (Counts 14-17, 19, 20), and engaging in monetary transactions



  4
         Id.

                                                3
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 4 of 61 PageID #: 2759




  involving criminal proceeds (Counts 23-25). Sup. Indict. at ECF No. 94. Mr. Spradley was

  charged, but acquitted of murdering government informant Marcus Willis. PSR at ¶ 1.

         Mr. Spradley had only one prior conviction for gambling before his 1999 sentencing.

  PSR at ¶ 72. That gambling conviction resulted in a $2.00 fine. Id. With zero criminal history

  points, Spradley fell into criminal history category I. PSR at ¶ 73. The drug offense murder

  cross reference under Guideline § 2D1.1(d)(1) applied to Count 1, increasing his base

  offense level from 38 to 43. PSR at ¶ 39.5 He also received a four-point leadership

  enhancement, resulting in a total adjusted offense level of 47. Under the then-mandatory

  guidelines, the Court imposed a life sentence on Count 1. Spradley was sentenced to 240

  months imprisonment on Counts 7, 8, 14, 15, 16, 17, 19 and 20. He was sentenced to 120

  months imprisonment on Counts 23, 24 and 25, with all sentences to run concurrently.

         The Seventh Circuit affirmed Mr. Spradley’s convictions and sentence in United States

  v. Thompson. 286 F.3d 950 (7th Cir. 2002).6 Mr. Spradley and his co-defendants Mark White

  and Dennis Jones appealed the district court's application of the murder cross reference to

  their guidelines calculation. Id. at 958. The Seventh Circuit Court concluded that there was

  insufficient evidence to apply the murder cross reference provision to co-defendants White

  and Jones. Id. at 959. The Seventh Circuit reasoned that it was not reasonably foreseeable to

  White and Jones that Willis could be killed with malice aforethought (premeditation), in


  5
          The sentencing judge found Mr. Spradley responsible for 550 kilograms of cocaine
  for the drug conspiracy and attributed $11.5 million to Mr. Spradley for the money
  laundering conspiracy. Sent. Tr. at p. 48 ¶ 18 to 20.
  6
          Retired Judge Ann Claire Williams authored the Seventh Circuit’s 2002 opinion
  affirming Mr. Spradley’s conviction and sentence. Mr. Spradley’s undersigned counsel,
  MiAngel Cody, clerked for Judge Williams between 2005 and 2006. Attorney Cody had no
  involvement in his appeal proceedings, which preceded her federal appellate clerkship.

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Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 5 of 61 PageID #: 2760




  furtherance of the conspiracy. Id. Yet, the appellate court found there was sufficient evidence

  to support the murder cross reference as to Mr. Spradley. Id.

         Mr. Spradley later moved to vacate, set aside or correct his sentence on Count 1

  alleging ineffective assistance of counsel. The district court denied his motion. United States v.

  Spradley, No. 1:04-cv-0055-LJMWTL (S.D. Ind. Oct. 4, 2005). The Seventh Circuit affirmed

  the decision. Spradley v. United States, No. 06-1358 (7th Cir. Aug. 3, 2006). Mr. Spradley sought

  collateral   relief,   but   his   motion     was       denied.   United   States   v.   Spradley, No.

  1:05-cv-1762-LJMWTL (N.D. Ind. Nov. 28, 2005). The Court denied Mr. Spradley’s

  Amendment 782 motion for a sentence reduction in 2016, correctly finding that his guideline

  range had not changed. ECF No. 84.


                                          II.     THE LAW

                  “Under 18 U.S.C. § 3582(c)(1)(A), a court may release a prisoner for compassionate
                  reasons only if, after considering the factors set forth in section 3553(a), it finds
                  extraordinary and compelling reasons.”

                 United States v. Saunders, 986 F.3d 1076, 1078 (7th Cir. 2021)(quotations omitted)

         The statute authorizing compassionate release as it exists today was first enacted as

  part of the Comprehensive Crime Control Act of 1984. See Pub. L. No. 98-473, 98 Stat.

  1837, 1998-1999 (1984). That original statute gave the Bureau of Prisons (“BOP”) exclusive

  power to make compassionate release motions. It is a power that the BOP has used

  infrequently and only in the most dire cases. A 2013 report from the Department of Justice’s

  Office of the Inspector General revealed that, on average, only 24 incarcerated people per




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Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 6 of 61 PageID #: 2761




  year were released on BOP motion.7 That report concluded that the BOP did “not properly

  manage the compassionate release program,” that its “implementation of the program ...

  [was] inconsistent and result[ed] in ad hoc decision making,” and that it “ha[d] no timeliness

  standards for reviewing ... requests.” Id. at 11. These failures were not without consequence.

  Of the 208 people whose release requests were approved by both a warden and a BOP

  Regional Director, 13% died awaiting a final decision by the BOP Director. See United States v.

  Brooker, 976 F.3d 228, 231–32 (2d Cir. 2020)(collecting BOP compassionate release statistics).

         On December 21, 2018, Congress passed the First Step Act, 132 Stat. 5194. Among

  numerous other reforms, the Act made the first major changes to compassionate release

  since its inception in 1984. Chief among these changes was the removal of the BOP as the

  sole arbiter of compassionate release motions. The Seventh Circuit has declared that Section

  603 of the 1SA “allows prisoners to ask courts for compassionate release without needing

  the BOP to petition on their behalf.” United States v. Cochran, 833 Fed. App'x. 5, 7 (7th Cir.

  2020). Prisoners must first request compassionate release from the BOP, “but they can now

  access the courts on their own if the BOP fails to respond or if it denies the request and they

  exhaust their administrative remedies by appealing.” Id.

         The amendments to 18 U.S.C. 3582(c)(1)(A) pursuant to section 603 of the First Step

  Act were intended to provide relief to a greater number of petitioners. For instance, one


  7
         See U.S. Dep't of Just. Office of the Inspector General, The Federal Bureau of
  Prisons’ Compassionate Release Program 1 (2013),
  https://www.oversight.gov/sites/default/files/oig-reports/e1306.pdf (last accessed May 24,
  2021).

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Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 7 of 61 PageID #: 2762




  co-sponsor of the First Step Act described this provision as both “expand[ing]” and

  “expedit[ing]” compassionate release. 164 Cong. Rec. S7774 (daily ed. Dec. 18, 2018)

  (statement of Sen. Ben Cardin). Another representative stated that the First Step Act was

  “improving application of compassionate release.” 164 Cong. Rec. H10362 (daily ed. Dec. 20,

  2018) (statement of Rep. Jerrold Nadler). Sentiments like these were so widely shared that

  Congress titled this portion of the First Step Act, “Increasing the Use and Transparency of

  Compassionate Release.” See P.L. 115-391 § 603(b), 132 Stat. 5194, 5239.

         The impact has been considerable. Section 603 has resulted in a significantly greater

  number of releases and reductions in sentences for deserving prisoners. In 2018, only 34

  people received compassionate release sentence reductions.8 After the First Step Act’s

  enactment in December 2018, the BOP reports that approximately 3,414 motions for

  compassionate release or sentence reductions have been granted.9 As of May 18, 2021, the

  BOP reports the following statistics related to the First Step Act, including compassionate

  release:




  8
          U.S. Department of Justice, Department Of JusticeAnnounces the Release of 3,100 Inmates
  Under First Step Act, Publishes Risk And Needs Assessment System, available at:
  ttps://www.justice.gov/opa/pr/department-justice-announces-release-3100-inmates-under-f
  irst-step-act-publishes-risk-and. (last accessed May 18, 2021).
  9
          Federal Bureau of Prisons, First Step Act, available at:
  https://www.bop.gov/inmates/fsa/ (last accessed May 18, 2021).

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Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 8 of 61 PageID #: 2763




         Against this backdrop, there are three questions the Court must answer in each

  compassionate release case: (1) do “extraordinary and compelling reasons” exist to warrant a

  sentence reduction; (2) do the § 3553(a) factors weigh in favor of relief, and finally; (3) is a

  reduced prison term consistent with any applicable policy statements of the Sentencing

  Commission. As to the third question, the Seventh Circuit Court of Appeals has stated: The

  “Sentencing Commission has not yet issued a policy statement ‘applicable’ to [the prisoner’s]

  request” and “the Guideline Manual lacks any applicable policy statement.” United States v.

  Gunn, 980 F.3d 1178, 1180 (7th Cir. 2020). Therefore, this brief will address solely the first

  and second questions for compassionate-release analysis.




                                                 8
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 9 of 61 PageID #: 2764




                                      III.    DISCUSSION

         A life sentence is categorically severe and extraordinary; that is, according to the

  Supreme Court. It “means denial of hope; it means that good behavior and character

  improvement are immaterial; it means that whatever the future might hold in store for the

  mind and spirit of [the convict], he will remain in prison for the rest of his days.” Graham v.

  Florida, 560 U.S. 48 (2010) (citing Naovarath v. State, 105 Nev. 525, 526, 779 P. 2d 944 (1989)).

         A life sentence that is no longer mandatory, particularly when coupled with

  documented post-sentencing rehabilitation, creates extraordinary and compelling reasons for

  compassionate release. Here, there are three factors that weigh in Mr. Spradley’s favor: (A)

  Mr. Spradley is serving an unusually lengthy sentence that (B) is no longer mandatorily

  required under the now discretionary sentencing guidelines, and (C) the father of the murder

  victim ⎼ the most egregious fact in his case ⎼ supports release. In addition, the 3553(a)

  factors weigh in favor of a reduction. We discuss these factors in turn.10


         A.      Mr. Spradley’s Life Sentence is No Longer Mandatory, Creating an
                 Extraordinary and Compelling Reason for Compassionate Release.

         Two important factors drove Spradley’s life sentence: First, he was required to receive

  the murder cross reference under Guideline § 2D1.1(d)(1) while, ironically, the actual shooter

  was not. That guideline provision dramatically increased Spradley’s total offense level and

  guaranteed his life sentence. Second, the guidelines were mandatory at his 1999 sentencing,

  leaving the Court no choice but to impose a formulaic penalty. Today, the Sentencing

  Guidelines are no longer mandatory and the Court has its first opportunity to fashion a

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         Mr. Spradley presents this motion, having exhausted his administrative remedies
  within the BOP. See Exhibit C.

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Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 10 of 61 PageID #: 2765




   parsimonious sentence in this case. Mr. Spradley’s life sentence, coupled with the abolition of

   the mandatory guidelines, the length of time he has served, the very unique letter from the

   murder victim’s father, and Spradley’s long-documented rehabilitation, collectively create

   extraordinary and compelling reasons for his compassionate release.

          To be sure, Mr. Spradley’s argument does not rest on the generalized belief that every

   pre-Booker mandatory sentence is an extraordinary and compelling reason for compassionate

   release. His argument is that a life sentence is categorically different, as the Supreme Court

   has acknowledged. Indeed, it is well settled that “life without parole is the second most

   severe penalty permitted by law.” Graham v. Florida, 560 U.S. 48 (2010) (citing Harmelin v.

   Michigan, 501 U. S. 957, at 1001 (Kennedy, J., concurring).

          In Graham v. Florida, the Supreme Court observed:

                 [L]ife without parole sentences share some characteristics with death
                 sentences that are shared by no other sentences. The State does not execute
                 the offender sentenced to life without parole, but the sentence alters the
                 offender’s life by a forfeiture that is irrevocable. It deprives the convict of the
                 most basic liberties without giving hope of restoration, except perhaps by
                 executive clemency—the remote possibility of which does not mitigate the
                 harshness of the sentence.

          Id. at 69 (citing Solem v. Helm, 463 U.S. 277, 300-301 (1983)).

          Mr. Spradley was just 29 years old when he was arrested and ultimately sentenced to

   life. His young age at sentencing is an additional extraordinary and compelling reason for his

   release because, when compared to an older man, he will spend a greater balance of his life

   buried alive. “A 16-year-old and a 75-year-old each sentenced to life without parole receive

   the same punishment in name only.” Graham, 560 U.S. at 70-71; cf. Harmelin v. Michigan, 501

   U.S. 957, 996 (1991) (“In some cases … there will be negligible difference between life



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Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 11 of 61 PageID #: 2766




   without parole and other sentences of imprisonment — for example, … a lengthy term

   sentence without eligibility for parole, given to a 65-year-old man”). The net effect of a life

   sentence on a young person is a “reality [that] cannot be ignored.” Graham v. Florida, 560 U.S.

   48 (2010). This reality is also an extraordinary and compelling reason to reconsider Mr.

   Spradley’s punishment, given this particular defendant and these particular facts.


          B.     A Favorable, but Non-Retroactive Change in Law that Affects a
                 Significantly Lengthy Sentence Can Be an Extraordinary and
                 Compelling Reason for Compassionate Release.

          When Mr. Spradley last stood before the Court, the sentencing guidelines were

   mandatory and formulaically required a life sentence. No judicial discretion was allowed.

   That is no longer the case. There has been a significant change in law that no longer

   necessitates Mr. Spradley’s permanent banishment.

          The legislative history of the compassionate release statute demonstrates Congress

   envisioned the mechanism being used to reduce sentences where subsequent revisions to

   sentencing policies render an imposed sentence unreasonably lengthy. Indeed, the Senate

   Judiciary Committee contemplated in 1983 that a sentence reduction may be justified in

   “cases in which the sentencing guidelines for the offense of which the defender was

   convicted have been later amended to provide a shorter term of imprisonment.” S. Rep.

   98-225, 55–56, 1984 U.S.C.C.A.N. 3182, 3238–39. From its legislative inception, §

   3582(c)(1)(A) was considered a judicial safety valve, permitting relief where there might

   otherwise be no available avenue. See S. REP. 98-225, 121, 1984 U.S.C.C.A.N. 3182, 3304

   ("The value of the forms of 'safety valves' contained in this subsection lies in the fact that

   they assure the availability of specific review and reduction of a term of imprisonment for


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Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 12 of 61 PageID #: 2767




   'extraordinary and compelling reasons' and to respond to changes in the guidelines."); United

   States v. McCoy, 981 F.3d 271, 287 (4th Cir. 2020) ("[T]he very purpose of § 3582(c)(1)(A) is to

   provide a 'safety valve' that allows for sentence reductions when there is not a specific statute

   that already affords relief but 'extraordinary and compelling reasons' nevertheless justify a

   reduction." (citation omitted)).

           Since the passage of the First Step Act, a number of courts have reduced terms of

   imprisonment where a change in law undermines the appropriateness of a lengthy sentence.

   For instance, on facts similar to Mr. Spradley’s, the district court granted compassionate

   release in United States v. Santamaria, No. 4:04-CR-00199, 2021 WL 343008 (S.D. Iowa Feb. 1,

   2021). The court found the defendant’s mandatory life sentence for a drug offense was

   “objectively inhumane,” the law had since changed, and these facts met the

   extraordinary-and-compelling standard. Id. at *4. Granting release, the Santamaria court

   reasoned:

                  [I]t is hard to argue that the unfairness of keeping a man in
                  prison for decades more than if he had committed the same
                  crime today is anything other than compelling. This is
                  especially so when Defendant almost certainly would have
                  completed his term of imprisonment by now if sentenced
                  under modern law. Defendant thus presents an “extraordinary
                  and compelling reason[ ]” for a sentence reduction under §
                  3582(c)(1)(A)(i).

   Id. The district court granted compassionate release in the Santamaria case, and the

   government did not appeal.

          Seventh Circuit precedent supports a finding that a favorable, but non-retroactive

   change in sentencing law that affects a significantly lengthy sentence can be an extraordinary

   and compelling reason for a sentence reduction under § 3582(c)(1)(A). In an analogous

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Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 13 of 61 PageID #: 2768




   scenario, this premise is readily seen in recent compassionate release cases involving stacked

   gun counts. For instance, in United States v. Wrice, the Seventh Circuit vacated and remanded a

   district court's order denying a compassionate release motion because the order was premised

   on the court's belief that it lacked the authority to consider the non-retroactive statutory

   amendments to § 924( c) in deciding whether a sentence reduction was appropriate. 834 F. App'x

   267, (Mem)–268 (7th Cir. 2021). Specifically, the panel found the lower court “erred when it held

   that the Guidelines prohibited it from considering whether a favorable but non-retroactive

   statutory amendment constitutes an extraordinary and compelling reason” to reduce a sentence.

   Id. Most notably in Wrice, the government agreed with appellant Wrice that the district court

   erred and remand was appropriate. Id.

           Likewise, in United States v. Haynes, the defendant received a de facto life sentence of

   over 100 years’ imprisonment for stacked guns. 2020 U.S. App. LEXIS 41462, at *1 (7th Cir.

   Dec. 18, 2020). Haynes sought ⎼ but was denied ⎼ compassionate release based on the

   disparity in his pre-First Step Act and post-First Step Act penalties for the 924(c) counts.11

   The Seventh Circuit vacated the district court’s denial, holding that a sentence disparity could

   be considered an extraordinary and compelling reason under § 3582(c)(1)(A). Id. On remand,

   the district court granted the defendant's compassionate release, finding the First Step Act’s

   anti-stacking provision meant he would only face a mandatory 30-year sentence, rather than

   the 105-year sentence the court had previously imposed. Id. at *19. Ultimately in Haynes, the

   disparate    penalties   created    by     a   substantial    change     in   law     met    the

   11
          United States v. Haynes, No. 4:96-cr-40034, at *4 (C.D. Ill. Nov. 12, 2020) (Doc. No.
   159). Haynes was convicted of three counts of robbery in violation of 18 U.S.C. § 1951, three
   counts of interstate travel in aid of racketeering in violation of 18 U.S.C. § 1952, and six
   counts of carrying a firearm in violation of § 924(c).Id. at 1.

                                                  13
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 14 of 61 PageID #: 2769




   extraordinary-and-compelling       standard.    See   also   United   States   v.   Maumau,    No.

   2:08-Cr-00758-TC-11, 2020 WL 806121, at *5 (D. Utah Feb. 18, 2020), aff'd, 993 F.3d 821

   (10th Cir. 2021) (granting compassionate release for a defendant’s 57 year sentence, finding

   his “age, the length of sentence imposed, and the fact that he would not receive the same

   sentence if the crime occurred today all represent extraordinary and compelling grounds to

   reduce his sentence”).

             Similarly, the Chief Justice of the Northern District of Illinois has found “th[at]

   reduced statutory guidelines and . . . post-sentencing conduct” can demonstrate

   extraordinary and compelling reasons for a sentence reduction under § 3582(c)(1)(A). United

   States v. Lawrence, No. 02CR-200-1, at 7 (N.D. Ill. Jan. 8, 2021). In United States v. Lawrence, the

   defendant received a stacked 30-year term of imprisonment for two § 924(c) convictions. Id.

   at 1. Lawrence sought compassionate release on his stacked gun counts, based on the

   post-1SA sentence disparity and his post-sentencing conduct. The court found that the

   excessive sentence, change in the law, and post-sentencing conduct constituted extraordinary

   and compelling reasons for a sentence reduction under § 3582(c)(1)(A). Id. at 5. The district

   court granted compassionate release in the Lawrence case, and the government did not

   appeal.

             Other district courts have also held that a change in sentencing law combined with

   evidence of a prisoner’s post-sentencing conduct can demonstrate extraordinary and

   compelling reasons to reduce a lengthy sentence. In United States v. Clausen, the defendant

   received a stacked 213-year sentence for nine stacked gun counts. He sought compassionate

   release based on his excessive sentence under § 924(c), a change in the sentencing law, and



                                                   14
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 15 of 61 PageID #: 2770




   his remarkable record of rehabilitation. 2020 WL 4260795, at *1 (E.D. Pa. July 24, 2020). The

   court found that Clausen’s “excessive sentence and his demonstrated rehabilitation”

   presented “extraordinary and compelling reasons to justify a sentence reduction.” Id. at *7.

   The district court granted compassionate release in the Clausen case, and the government did

   not appeal.

          In United States v. Rollins, the court reduced the defendant’s life sentence because of

   the excessive length of his 106 ½ year sentence and his extensive record of rehabilitation.

   2021 WL 1020998, at *6 (N.D. Ill. March 17, 2021). The court concluded these facts

   amounted to “reasons that are beyond what is usual, customary, or regular—that is, reasons

   that are ‘extraordinary’ within the meaning of 3582(c)(1)(A).” Id. at *17. The court explained:

                  [G]iven the plain meaning of the term “extraordinary,” it is
                  significant that this particular confluence of events—four
                  stacked 924(c) charges for a first-time offender who exercised
                  his constitutional right to put the Government to its proof at
                  trial—is highly unusual. . . . [A] de facto life sentence far
                  exceeds appropriate punishment. Id. at 14.

   The district court granted compassionate release in the Rollins case, and the government did

   not appeal.

          Indeed, district courts across the country have overwhelmingly continued to grant §

   3582(c)(1)(A) relief based on the “stacking” of §924(c) convictions. See, e.g., United States v.

   Burt, 2020 WL 4001906 (E.D. Mich. July 15, 2020) (reducing sentence to time served after

   serving 30 years of a 41-year sentence for stacked § 924(c) convictions); United States v.

   Adeyemi, 2020 WL 3642478 (E.D. Pa. July 6, 2020) (reducing sentence to time served based

   on two § 924(c) where defendant was sentenced to 385 months at the age of 19); United States

   v. Lott, 2020 WL 3058093 (S.D. Cal. June 8, 2020) (reducing a sentence of 423 months based

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Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 16 of 61 PageID #: 2771




   on stacked § 924(c) convictions to 375 months imprisonment); McCoy v. United States, 2020

   WL 2738225 (E.D. Va. May 26, 2020) (granting a reduction in sentence from stacked §

   924(c) convictions where defendant was sentenced at age 20 to a 421-month term and

   finding the defendant's relative youth at the time of sentence, overall length of sentence,

   disparity between his sentence and those sentenced for similar crimes after the First Step

   Act, and his rehabilitation efforts form extraordinary and compelling bases for relief); United

   States v. Williams, No. 06-CR-50055-(1), 2020 WL 6940788, at *3 (N.D. Ill. Nov. 25,

   2020)(“The eighteen-year difference in the sentence [defendants] received and the sentence

   Congress has now deemed warranted for the second § 924(c) conviction supports finding an

   extraordinary and compelling reason for a sentence reduction.”); Maumau, 2020 WL 806121,

   at *6 (“Congress indicated thirty-five years ago that it would be appropriate to provide

   compassionate releases when sentences are ‘unusually long[.]’ ”); United States v. Almontes,

   No. 3:05-cr-58, 2020 WL 1812713, at *8 (D. Conn. Apr. 9, 2020) (“[C]ourts have considered

   intervening changes in law as factors contributing to an ‘extraordinary and compelling’

   reason for a sentence reduction under section 3582(c)(1)(A).”); United States v. Urkevich, No.

   8:03-CR-37, 2019 WL 6037391 (D. Neb. Nov. 14, 2019)(“A reduction in [defendant’s]

   sentence is warranted by extraordinary and compelling reasons, specifically the injustice of

   facing a term of incarceration forty years longer than Congress now deems warranted for the

   crimes committed.”).

          In another analogous scenario, district courts have granted compassionate release

   based upon the favorable, but non-retroactive changes to 21 U.S.C. § 851 (the Three Strikes

   Drug Law). Prior to the First Step Act, a drug offender with at least two prior qualifying



                                                  16
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 17 of 61 PageID #: 2772




   felony drug convictions could face a prosecutorial “three strikes” enhancement mandating a

   life sentence. The First Step Act lowered that mandatory penalty to 25 years’ imprisonment.

   Many courts have found that the sentencing disparity resulting from changes to § 851’s

   penalty structure constitutes an extraordinary and compelling reason to grant relief. See, e.g.,

   United States v. Nicholson, TDC-03-0268, ECF No. 394 (D. Md. May 21, 2021) (“Although the

   FSA's changes relating to § 851 notices were not made retroactive, neither were the changes

   relating to the stacking of § 924(c) charges, yet McCoy…authorized a sentence reduction

   under § 3582(c)(1)(A) based on the gross disparity between the defendant's sentence…and

   the sentence that would be imposed today.”); United States v. Sappleton, PJM-01-284-3, 2021

   WL 598232, at *3 (D. Md. Feb. 16, 2021) (finding that the gross disparity between the

   mandatory life sentence defendant received in 2002 and the 15-year mandatory minimum

   term he would face today because of changes to § 851’s penalty structure constitutes an

   extraordinary and compelling reason to grant relief); United States v. Williams, 5:12-cr-14, 2020

   WL 5834673, at *8 (W.D.Va. Sept. 30, 2020) (finding that the “dramatic reduction under

   section 401 of the First Step Act to the § 841(b)(1)(A) enhancements [under § 851]

   constitutes an extraordinary and compelling reasoning warranting a reduction in

   [defendant's] sentence”); United States v. Day, 474 F. Supp. 3d 790, 806-7 (E.D. Va. 2020)

   (finding extraordinary and compelling reason because “were Defendant sentenced today, his

   sentence with respect to Count 1 would be dramatically different. Instead of a mandatory

   Life sentence (predicated on two qualifying § 851 offenses), Defendant would today face a

   mandatory minimum sentence of 15 years (predicated on a single qualifying § 851 offense),

   with a substantially lower than Life Guidelines sentence”); see also United States v. Sweets,



                                                   17
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 18 of 61 PageID #: 2773




   CCB-04-564, 2020 WL 3073318, at *3 (D. Md. June 10, 2020) (considering the changes to §

   851 in deciding to reduce a sentence); United States v. Turner, TDC-06-0274, ECF 50 at 3–4

   (D. Md. June 28, 2019) (new provisions relating to predicate offenses for § 851

   enhancements “support[ ]” the decision to impose a reduced sentence).

          An overwhelming number of courts agree that a favorable, but non-retroactive

   change in law affecting a lengthy sentence, when combined with other factors, can meet the

   extraordinary-and-compelling standard. In United States v. Jones, Your Honor granted

   compassionate release, noting “if [defendant] were sentenced today, he would be subject to a

   mandatory minimum of 10 years on Count 1 rather than the 20-year mandatory minimum

   sentence he received.” No. 07-CR-00167, 2020 WL 6701314, at *7 (S.D. Ind. Nov. 13, 2020).

   There is ample case law ⎼ including this Court’s prior decisions ⎼ to support Your Honor’s

   conclusion that (a) Mr. Spradley’s mandatory life sentence is objectively inhumane,

   particularly given the restorative justice between him and Willis’ father. Furthermore, there is

   ample case law to support the conclusion that the change in law post-Booker and Mr.

   Spradley’s rehabilitation while serving a life sentence combine to create extraordinary and

   compelling reasons.




                                                 18
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 19 of 61 PageID #: 2774




          C.     The 3553(a) Factors Weigh in Favor of Compassionate Release.




          Because there are extraordinary and compelling reasons to support Mr. Spradley’s

   release, the Court must next “consider[ ] the factors set forth in section 3553(a) to the extent

   they are applicable” to determine whether a reduced sentence is appropriate and, if so, what

   that sentence should be. United States v. Jones, 2020 WL 6701314, at *6 (S.D. Ind. Nov. 13,

   2020) (“In evaluating a motion for compassionate release, the final consideration is whether

   the § 3553(a) factors outweigh the ‘extraordinary and compelling reasons’ warranting

   compassionate release, and whether compassionate release would undermine the goals of the

   original sentence.”). Importantly, these considerations are to be assessed against the

   overarching parsimonious principle that a federal sentence is to be sufficient, but not greater

   than necessary. 18 U.S.C. § 3553(a).

          In this particular case for this particular defendant, the applicable § 3553(a)

   sentencing factors weigh in favor of reducing Mr. Spradley’s life sentence. The factors are: (1)

   the nature and circumstances of the offense and the history and characteristics of the

   defendant; (2) the need for the sentence imposed to reflect the seriousness of the offense,

                                                 19
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 20 of 61 PageID #: 2775




   respect for the law, and just punishment for the offense; (3) to deter criminal conduct; (4) to

   protect the public from further crimes of the defendant; and (5) to provide the defendant

   with needed educational or vocational training, medical care, or other correctional treatment

   in the most effective manner. This brief will address the relevant 3553(a) factors in turn.

                      1. The nature and circumstances of the offense and the history and
                         characteristics of Anthony Spradley.

          The instant offense was Mr. Spradley’s first felony conviction. Prior to his 1999

   sentencing, Mr. Spradley had never served time in prison. His only brush with the law was a

   $2.00 gambling fine. Yet, when Mr. Spradley stood before the Court, he was required to

   forfeit the entire balance of his life’s freedom because the then-mandatory sentencing

   guideline scheme demanded it.

          In 1999, Anthony Spradley stood before this Court as a young man. He is no longer

   young, but he is more of a man than he has ever been. He laments that his “behavior was

   selfish” and that he “inflicted harm upon many victims who were negatively affected by

   drugs that [he] willingly supplied.”12 Mr. Spradley understands that “simple statements or

   apologetic pleas, no matter how sincere, will not repair the damage [he has] caused.” He is

   truly remorseful for his conduct and wishes he “could go back in time and speak to

   [himself].”13 In his letter to the Court, Spradley reflects:

                  Within this place of confinement I have been nourished with
                  constant growth. I have also learned how to shift away from the
                  self-centered instant gratification manner of the irresponsible
                  man that I once represented.14


   12
          A copy of Anthony Spradley’s letter to the Court is attached as Exhibit B.
   13
          Id.
   14
          Id.

                                                    20
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 21 of 61 PageID #: 2776




          Mr. Spradley has multiple job offers and community support to assist him with his

   reentry.




          Ronnie Paige, owner and operator of Stretch Towing and Recovery in Indianapolis

   has offered Mr. Spradley employment, stating that “I have no problem providing him with

   employment here at Stretch Towing and Recovery. I believe that he deserves a second chance

   and an opportunity to be a productive member of society.”15 Johnny Whitthorne, owner of

   JW Construction and Associates in Indianapolis, and instructor for the National Center for

   Construction Education and Research states, “If there is anything I can do to help Mr.

   Spradley to acclimate back into society I’m here for him because I know what it is like to
   15
         A copy of this pre-employment verification letter among other letters of support
   from community members are attached as Exhibit D.

                                               21
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 22 of 61 PageID #: 2777




   need a second chance.” Pastor Darryl Davis of Ambassador Missionary Baptist Church who

   has known Mr. Spradley for over 30-years, says that if released “I am eager to aid him in

   every possible way to rejoin our society, there are several re-entry programs available in our

   city. I am willing to help Mr. Spradley seek employment and I am ready to give counsel and

   guidance to help Mr. Spradley to become an up-standing citizen.”16

          Additionally, Kevin Lee, a multi-millionaire music executive, philanthropist and

   Spradley’s longtime friend, is ready to support Mr. Spradley’s reentry. Mr. Lee has been

   featured in a number of major media outlets including Rolling Stone and The New Yorker.17

   Mr. Lee and Mr. Spradley have remained in contact over the years, and Mr. Lee has agreed to

   provide financial resources to ensure Mr. Spradley has the first year of his housing

   guaranteed upon his release. This unique and overwhelming support from community

   members buttresses the extraordinary and compelling reasons to reduce Mr. Spradley’s life

   sentence.

                     2. The need for the sentence to promote respect for the law and
                        provide just punishment and effective correctional treatment.

                  “There is a complicated road between grief and healing. I have been on
                  that journey a long time. . . After much reflection and healing, I do not
                  oppose compassionate release for Anthony Spradley.”

                                   ⎼ Letter from Edward White dated February 8, 2021 (Exh. A).


   16
            Exhibit D.
   17
            See publicity and articles concerning music executive and philanthropist Kevin Lee
   available at:
   https://www.newyorker.com/magazine/2017/12/18/how-coach-k-guides-atlantas-hip-hop-
   stars (last accessed June 2, 2021) and
   https://www.rollingstone.com/music/music-news/a-number-one-radio-hit-costs-200000-ac
   cording-to-one-label-head-890883/ (last accessed June 2, 2021).

                                                    22
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 23 of 61 PageID #: 2778




          It is extraordinary and compelling that the father of the person killed in this case does

   not oppose Mr. Spradley’s release. It is not by happenstance, however. Mr. White’s letter to

   Your Honor is the culmination of honest and heartfelt communication between the men.

          Mr. Spradley was 28 years old when Marcus Willis was killed. He is 51 years old today.

   Mr. Spradley reached out to Mr. White to apologize and begin the healing process. He did so

   with no ulterior motives or certainty that he would ever be released. Mr. White writes to

   Your Honor:

                    Anthony has communicated his deep apology to my family. . . Our
                    discussions have allowed me to forgive him. If you decide that Anthony
                    deserves another chance at freedom, my love for my son Marcus will not
                    stand in the way.

                                    ⎼ Letter from Edward White dated February 8, 2021 (Exh. A).

          There is a remarkable and rare opportunity for restorative justice in this case. That

   weighs in favor of judicial compassion.

          As to the need for further vocational and correctional treatment, Mr. Spradley

   completed his GED within months of entering the BOP. He has not stopped improving

   himself over the past two decades of incarceration. Spradley has taken courses that position

   him for employment, if he is ever released from prison. He has taken over 280 hours of

   masonry training, over 100 hours of blueprint reading, and forklift training.             He has

   completed over 40 educational courses, totaling over 700 hours of rehabilitative

   programming.18 The job offers presented to the Court in his release plan are congruent with

   the education, training and skills that Mr. Spradley has acquired during his 23 years of

   incarceration.

   18
          See 2020 BOP Report at 1, attached as Exhibit E.

                                                     23
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 24 of 61 PageID #: 2779




          To be sure, this Court would be rightly concerned about releasing any prisoner who

   presents a danger to the community. The best evidence of Mr. Spradley’s lack of

   dangerousness is the type of work the BOP has chosen him to perform during his

   imprisonment. BOP records indicate that Mr. Spradley is currently assigned to Electric 1, a

   job that entrusts him with potentially dangerous tools.19 Mr. Spradley’s work assignments

   suggest the BOP does not believe he presents an institutional danger to himself or others.

   This institutional record is similar to Your Honor’s prior case United States v. Davis, No.

   2:15-CR-00019-JMS-CMM, 2020 WL 7138645 (S.D. Ind. Dec. 7, 2020). In Davis, the Court

   granted compassionate release, reasoning the defendant “ha[d] no prior felonies, he ha[d]

   maintained clean conduct over more than 5 years of incarceration, and ha[d] completed

   various programming, including a drug treatment program.” Id. at *6. The Court held the

   3553(a) factors in Davis suggested the defendant “would not present a danger to the

   community or to another person if he were released.” Id. Here too, Mr. Spradley’s BOP work

   history and record are highly indicative that he would not present a danger to the community

   or another person if he were released.

                     3. The need to avoid unwarranted sentencing disparities.

          Indisputably, the most egregious fact in this case is the unfortunate death of Marcus

   Willis. According to the PSR, Willis was murdered by Mark White while the two men were

   riding in a car. PSR at ¶ 22. At his pre-Booker sentencing, the court applied the murder cross

   reference to co-defendant Mark White, co-defendant Dennis Jones, and Spradley. All three

   men were sentenced to life imprisonment on Count 1. All three appealed the sentencing


   19
          Id.

                                                24
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 25 of 61 PageID #: 2780




   judge’s application of the murder cross reference. United States v. Thompson, 286 F.3d 950, 956

   (7th Cir. 2002). The Seventh Circuit Court of Appeals reversed the appliction of the murder

   cross reference to Jones and White, but not to Mr. Spradley. Id. at 959. On remand, the

   court resentenced White to 480 months imprisonment. See United States v. White, 406 F.3d at

   827, 831 (7th Cir. 2005).

          There is an unwarranted sentencing disparity at the heart of this case. Mark White

   was convicted of killing Marcus Willis; he is serving a sentence of 40 years’ imprisonment.

   Mr. Spradley did not kill Willis (though he did dispose of evidence after the fact); he is

   serving a sentence of life imprisonment.

          Your Honor recently denied co-defendant Mark White’s First Step Act motion,

   finding his involvement in the murder to be “extremely serious” and warranting “a

   significant sanction.” Ultimately, Your Honor concluded the 3553(a) factors did not favor a

   reduction of White’s sentence because his “480-month sentence was appropriate when it was

   imposed, and the Court continues to conclude that that sentence is sufficient, but not greater

   than necessary.” United States v. White, 1:98-cr-0038-JMS-MJD, at 17 (S.D. Ind. April 13, 2021)

   (Doc. No. 207). According to BOP records, White is scheduled to be released on November

   9, 2032.20 Despite Mr. Spradley not being the shooter and having a lower criminal history

   than his co-defendant, he received a harsher sentence than White who pulled the trigger.

   Fortunately, that unwarranted sentencing disparity is no longer required or permissible.




   20
          This information is taken from the BOP’s inmate locator:
   https://www.bop.gov/mobile/find_inmate/byname.jsp#inmate_results (last accessed June
   4, 2021)

                                                 25
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 26 of 61 PageID #: 2781




          This Court recently granted compassionate release to co-defendant Willie Boddie,

   reducing his sentence to time served. Dennis Jones received a 350-month term of

   imprisonment after an appeal of his life sentence on Count 1, and he was released on

   October 30, 2015. Ellis Walker received a 327-month term of imprisonment for his

   involvement in the conspiracy and he was released on March 7, 2016. Martino Perkins

   pleaded guilty to Count 1 and received a sentence of 70-months incarceration. PSR at ¶ 06.

   Alfred Edmonson pleaded guilty to Counts 1 and 8, and he received a sentence of

   60-months imprisonment. PSR at ¶ 12.

                                      IV.     CONCLUSION

          It is difficult for undersigned counsel to stop writing this brief. Admittedly, the case is

   a heavy lift with hard facts. The magnitude of the life sentence is outweighed only by the

   character of person counsel has come to know and represent. Counsel has cited as many

   cases, statutes, and facts as she can find; that is what lawyers do. Perhaps the Court may find

   Mr. Spradley’s own words to be the most compelling evidence to support his compassionate

   release. Counsel, therefore, submits a recorded statement of Mr. Spradley here:

   https://youtu.be/et4C0ObPwlg and a copy of this electronic Exhibit will be filed with the

   Clerk’s office.

          Mr. Spradley has made a choice every day for the last two decades to improve himself,

   learn a trade, and hope for the possibility that someday he might be able to present a

   different person to Your Honor. He does so today.




                                                  26
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 27 of 61 PageID #: 2782




          Mr. Spradley’s life sentence, the abolition of the mandatory guidelines, the statement

   of the victim’s father, the length of time he has served, and his documented rehabilitation,

   collectively create extraordinary and compelling reasons for his compassionate release.

                                                                         Respectfully submitted,




                                                                            /s/ MiAngel Cody
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                                CERTIFICATE OF SERVICE

          The undersigned, MiAngel Cody, an attorney with The Decarceration Collective Law
   Office, hereby certifies that on June 11, 2021, I electronically filed the following with the
   Clerk of the Court using the CM/ECF system:

       ANTHONY SPRADLEY MOTION TO REDUCE HIS LIFE SENTENCE
           PURSUANT TO SECTION 603 OF THE FIRST STEP ACT

                                                                             /s/ MiAngel Cody
                                                                             MIANGEL CODY

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                                                27
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 28 of 61 PageID #: 2783




                                   Exhibit A
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 29 of 61 PageID #: 2784
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 30 of 61 PageID #: 2785




                                 Exhibit B
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 31 of 61 PageID #: 2786
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 32 of 61 PageID #: 2787
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 33 of 61 PageID #: 2788
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 34 of 61 PageID #: 2789
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 35 of 61 PageID #: 2790
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 36 of 61 PageID #: 2791
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 37 of 61 PageID #: 2792
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 38 of 61 PageID #: 2793
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 39 of 61 PageID #: 2794
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 40 of 61 PageID #: 2795
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 41 of 61 PageID #: 2796
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 42 of 61 PageID #: 2797




                                  Exhibit C
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 43 of 61 PageID #: 2798
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 44 of 61 PageID #: 2799
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 45 of 61 PageID #: 2800
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 46 of 61 PageID #: 2801
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 47 of 61 PageID #: 2802
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 48 of 61 PageID #: 2803




                                  Exhibit D
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 49 of 61 PageID #: 2804
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 50 of 61 PageID #: 2805
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 51 of 61 PageID #: 2806
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 52 of 61 PageID #: 2807
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 53 of 61 PageID #: 2808
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 54 of 61 PageID #: 2809
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 55 of 61 PageID #: 2810
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 56 of 61 PageID #: 2811
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 57 of 61 PageID #: 2812
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 58 of 61 PageID #: 2813




                                  Exhibit E
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 59 of 61 PageID #: 2814
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 60 of 61 PageID #: 2815
Case 1:98-cr-00038-JMS-MJD Document 214 Filed 06/15/21 Page 61 of 61 PageID #: 2816
